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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

RUSSELL, et al,                       §
    Plaintiffs                        §
                                      §           No. 4:19-cv-00226
v.                                    §           Hon. Lee H. Rosenthal
                                      §           U.S. District Judge
HARRIS COUNTY, TEXAS, et al,          §
    Defendants                        §

           REPORT OF SHERIFF ED GONZALEZ MAY 1, 2020

      Pursuant to this Court’s Order dated April 14, 2020, the Sheriff provides the

following information:

      1. As of May 1, 2020, there were 5,835 felony pre-trial detainees.

      2. A total of 111 out of 426 detainees charged with non-violent offenses with

         no prior violent convictions have been released.

      3. Total number of inmates testing positive for COVID-19: 411. Of that

         number, 394 remain in custody. Of the 394, 145 are in surveillance

         quarantine because they tested positive but show no symptoms, and 92 are

         in recovery quarantine.

      4. Inmates in observational quarantine: 2648

      5. HCSO employees testing positive for COVID-19: 238 (of which 211 work

         in the jail). An additional 402 employees are on quarantine.


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                                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I certify that on May 1, 2020, a copy of this document was served on counsel

of record via electronic filing in accordance with the USDC Southern District of

Texas Procedures for Electronic Filing.

                                      /s/ Murray Fogler
                                      Murray Fogler




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